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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                                   Cr. No. 08-20011

Terez Rivers,                                        Honorable Sean F. Cox

      Defendant.
____________________________/

                              OPINION & ORDER
                DENYING DEFENDANT RIVERS’S MOTION TO SUPPRESS

       Defendant Terez Rivers (“Rivers” or “Defendant”) is currently charged in an Indictment

with several counts relating to bank robbery, including conspiracy to commit bank robbery,

aiding and abetting bank robbery, and using or carrying a firearm in relation to a crime of

violence. Trial in this matter is currently scheduled to commence on May 29, 2008. The matter

is currently before the Court on Defendant’s Motion to Suppress Evidence, wherein he asks the

Court to suppress evidence seized from his home during a warrantless search in August, 2007.

The parties have briefed the issues and the Court held an evidentiary hearing on April 18, 2008,

which, at Defendant’s request, was adjourned and then continued on April 24, 2008. For the

reasons below, Defendant’s motion shall be DENIED.

                                        BACKGROUND

       It is undisputed that on August 25, 2007, officers of the Detroit Police Department

searched Rivers’s home without a search warrant.

       The parties have divergent versions of the underlying facts.


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        In his motion, Rivers asserts that he was asked by the officers to consent to a search of

the premises and that he “did not want to consent and only did so after he was coerced into doing

so by the officers.” (Def.’s Br. at 1). He claims that his consent was not voluntarily given under

the circumstances of this case and the search and seizure of his home therefore violated his rights

under the Fourth Amendment. On this basis, he asks the Court to suppress all evidence obtained

as a result of the search.

        The Government alleges that Rivers granted the officers verbal consent to enter.

        The Court held an evidentiary hearing on this motion on April 18, 2008. At that time, the

Government presented one witness, Raymond Hughes, who was also cross-examined by Defense

counsel. The Court then asked Defense counsel if Defendant wished to present any witnesses,

and Defense Counsel declined. After further inquiry from the Court, however, Defense Counsel

requested that the Court adjourn the evidentiary hearing so that counsel could attempt to locate

and interview a potential witness, Vivian Ramsey (“Ramsey”). The Court granted that request

and adjourned the hearing until April 24, 2008.

        On April 24, 2008, the parties appeared for the continued hearing. At that time, however,

Defense Counsel indicated that it did not wish to call Ramsey as a witness, or call any other

witnesses, and the hearing concluded after argument by counsel.

        For purposes of this motion, the Court makes the following factual findings from the

testimony given at the evidentiary hearing.

                                      FINDINGS OF FACT

        Raymond Hughes (“Hughes”) is a police officer with the Detroit Police Department

(“DPD”). He has been employed by the DPD for approximately seven years. He works in a


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special response unit, which responds to urgent incidents, such as shootings, rapes, and other

violent crimes.

       On August 25, 2007, Hughes was riding in a vehicle with fellow officers Christopher

Reinhard (“Reinhard”) and Edward Lawson (“Lawson”). Hughes, Reinhard and Lawson heard a

run on the radio, regarding a black male with a weapon who had assaulted a black female. The

call advised that the suspect had gotten away from other officers who had responded and that the

suspect came out of his shirt at that time.

       Hughes, Reinhard and Lawson then responded to the run, and proceeded to the area of

Hamilton and Burlingame in Detroit, Michigan, in their vehicle.

       Hughes observed a black male, who was not wearing a shirt, running north on Hamilton.

Hughes saw that the suspect had his hand on a blue steel automatic hand gun tucked into his

waistband area. At that point, Hughes and Lawson began pursuit of the suspect on foot, while

Reinhard followed in the vehicle.

       Hughes pursued the suspect as he went northbound on Hamilton, then westbound in an

alley way between Burlingame and Webb. Hughes then observed the suspect, who was still

carrying a hand gun, go southbound between houses and enter a house located at 1150

Burlingame. Hughes was approximately 15 feet behind the suspect.

       After the suspect entered the house, other police units began to arrive on the scene.

Approximately 10 to 12 officers began to surround the location and secure the perimeter.

Hughes approached the front door of the house with Reinhard. The front door had a metal

security gate. Hughes, who was wearing a police badge, knocked on the door and announced

their presence as police officers. Hughes then heard movement inside the house.


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       After approximately 10 minutes, Rivers came out of the house and onto a second story

porch. Rivers asked Hughes and Reinhard what the problem was. Hughes told Rivers that the

officers had seen a suspect they were pursuing run into the house carrying a handgun. Rivers

told Hughes that no one came into the house and that he had been there the whole time.

       Hughes again told Rivers that Hughes had personally seen the suspect enter the house

carrying a hand gun.

       Rivers then said, “ok, you can come in and check for yourself.” Rivers also stated, again,

that he had been in the house the whole time and that no one had entered the house.

       Rivers came down and opened the door for the officers approximately five minutes later.

The officers then entered the house and conducted the search. The officers found the suspect,

later identified as Montrice Martin, in the house, hiding in the attic.

                                            ANALYSIS

       The Fourth Amendment generally prohibits the warrantless search of a home. United

States v. Hill, 79 Fed.Appx. 869, 872 (6th Cir. 2003)(citing Katz v. United States, 389 U.S. 347,

357 (1967)). If proper consent is voluntarily given, however, a search of property is valid under

the Fourth Amendment. Id.

       Here, Rivers challenges the voluntariness of his consent, asserting that he was “coerced”

into giving consent for the search. The Government, on the other hand, contends that Rivers

voluntarily gave consent for the search. Thus, the issue before the Court is whether evidence

seized during the search should be excluded for lack of valid consent to search.

       The parties agree that the Government bears the burden of proving that the consent to

search was voluntary under the totality of the circumstances. United States v. Salvo, 133 F.3d


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943, 953 (6th Cir. 1998). “This burden entails proving by ‘clear and positive’ testimony that the

consent was ‘unequivocal, specific, intelligently given and not influenced by any duress or

coercion.’” Id. (Internal citation omitted).

       After presentation of the testimony given at the April 18, 2008 hearing, the Court finds

that Hughes’s account of the events on the date in question is credible. The Court finds that

Hughes was pursuing a suspect carrying a handgun and saw that suspect enter 1150 Burlingame.

Hughes then approached 1150 Burlingame without a warrant, knocked on the door and identified

himself as a police officer, and then spoke with Rivers. Although Rivers could have refused by

simply saying no, the Court finds that during this brief conversation, Rivers freely and

voluntarily, without coercion or any threats, knowingly gave the police officers permission to

come inside and search the residence.

       The Court finds that the Government has clearly met its burden of establishing that the

search was voluntary under the totality of the circumstances. As a result, the evidence seized by

the officers will not be suppressed.

       In addition, assuming arguendo that Rivers had not consented to the search, the Court

would conclude that exigent circumstances justified a warrantless search under the

circumstances presented here.

       There are four general categories of exigent circumstances that permit a warrantless entry

into a home: 1) hot pursuit of a fleeing felon; 2) imminent destruction of evidence; 3) the need to

prevent the suspect’s escape; and 4) a risk of danger to the police and others. United States v.

Rohrig, 98 F.3d 1506, 1515 (6th Cir. 1996). In reviewing alleged exigent circumstances, the

court should consider the totality of the circumstances and the “inherent necessities of the


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situation at the time.” United States v. Johnson, 9 F.3d 506, 508 (6th Cir. 1993).

       The Government contends that the fourth type of exception (i.e., risk of danger to police

or others) applies here because the officers saw the suspect flee into the house with a gun, and

the suspect had already displayed a propensity to use the weapon to threaten other people, thus

the officers had reason to believe he might threaten them or the occupants of the house and

therefore endanger multiple lives.

       The Court agrees that this case presents a classic application of the hot pursuit exception

because the officers had just been pursuing a suspect who had threatened a woman with a gun,

they saw him still carrying the gun, and they chased him into the house. Hughes knew there was

at least one occupant in the house because he saw and spoke with Rivers, who indicated he did

not believe anyone had entered his house. Hughes had good reason to believe that the suspect

may threaten or injure the occupants of the house or officers at the scene. The Court finds that,

under the totality of the circumstances presented here, the Government has demonstrated a need

for immediate action that would have been defeated if the police officers had taken the time to

secure a warrant before entering the house.

                                     CONCLUSION & ORDER

       For the reasons above, IT IS ORDERED that Defendants Rivers’s Motion to Suppress is

DENIED.

       IT IS SO ORDERED.


                                      S/Sean F. Cox
                                      Sean F. Cox
                                      United States District Judge
Dated: April 24, 2008




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



United States of America,

        Plaintiff,

v.                                                         Cr. No. 08-20011

D-3 Terez Rivers,                                          Honorable Sean F. Cox

      Defendant.
____________________________/

                                    PROOF OF SERVICE

        I hereby certify that a copy of the foregoing Order Denying Defendant River’s Motion to

Suppress was served upon counsel of record on April 24, 2008, by electronic and/or ordinary

mail.

                                     S/J. Hernandez
                                     Case Manager




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